Case: 6:14-cr-00037-GFVT-HAI Doc #: 547 Filed: 08/27/18 Page: 1 of 1 - Page ID#:
                                    10709

                                                                             Eastern District of Kenrncky
                                                                                   FILED
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY                              AUG 2 7 2018
                               SOUTHERN DIVISION                                      AT FRANKFORi
                                     LONDON                                           ROBERT R. CARR
                                                                                 CLERK U.S. DISTRICT COURT

CRIMINAL ACTION NO. 14-37-GFVT

UNITED STATES OF AMERICA                                                         PLAINTIFF


V.                                       ORDER


M.D. JAMES ALVIN CHANEY                                                     DEFENDANT

                                      * * * * *
       The Court ORDERS that the motion of the United States for an order to allow the

Clerk to provide to the United States the sealed notice, filed in the record as docket entry

number 367, is GRANTED, and the Clerk shall provide this sealed notice with Page ID

numbers to the United States.

             -t
This the   Z.1 day of August, 2018.




                                                  United States District Judge
                                                  Eastern District of Kentucky
